Case 8:19-cr-00096-G.]H Document 16 Filed 02/27/19 Page 1 of 5

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IN THE UNITED STATES DISTRICT COU’RT' ;T‘ 21 P;l 2:1~3
FOR THE DISTRICT OF MARYLAND _ _

UNITEI) STATES OF AMERICA ` ` '
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CRIMlNALNo. 651/4 |§[WQLQ

(Unlawful Possession of Unregistered
Firearm Silencers, 26 U.S.C.

§ 5861(d); Unlawful Possession of
Firearm Silencers Unidentified by
Serial Number, 26 U.S.C. § 5861(i);
Possession of Firearms by Unlawful
User and Addict of a Controlled
Substance, 18 U.S.C. § 922(g)(3);
Possession of a Controlled Substance,
21 U.S.C. § 844; Forfeiture, 18 U.S.C.
§ 924(d), 26 U.S.C. § 5872(a),

28 U.S.C. § 2461(c))

v.
CHRISTOPHER PAUL HASSON,

Defendant

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INDICTMENT

COUNT ONE
(Unlawful Possession of Unregistered Firearm Silencers)

The Grand Jury for the District of Maryland charges that:
On or about February 15, 2019, in the District of Maryland, the defendant,
CHRISTOPHER PAUL I-IASSON,
knowingly possessed firearm silencers, as defined in 26 U.S.C. § 5845(a)(7) and 18 U.S.C.
§ 921(a)(24)#5pecifically, one assembled firearm silencer and one disassembled firearm
silencer_neither of which Was registered to the defendant in the National Firearms Registration

and Transfer Record.

26 U.S.C. § 5361(d)

Case 8:19-cr-00096-G.]H Document 16 Filed 02/27/19 Page 2 of 5

COUNT TWO
(Unlawful Possessinn of Firearm Silencers Unidentified by Serial Number)

The Grand Jury for the District of Maryland further charges that:
On or about February 15, 2019, in the District of Maryland, the defendant,
' CHRISTOPHER PAUL HASSON,
knowingly possessed firearm silencers, as defined in 26 U.S.C. § 5845(a)(7) and 18 U.S.C.
§ 921(a)(24)_specifically, one assembled firearm silencer and one disassembled firearm
Silencer~neid)er of which was identified by a serial number as required by Chapter 53 of Title

26, Um`ted States Code.

26 U_s.c. § 5861(1)

Case 8:19-cr-00096-G.]H Document 16 Filed 02/27/19 Page 3 of 5

COUNT THREE
(Possession of Firearms by Unlawful
User and Addict of a Controlled Substance)
The Grand Jury for the District of Maryland further charges that:
On or about February 15, 2019, in the District of Maryland, the defendant,
CI~IRISTOPHER PAUL HASSON,
then being an unlawful user and addict of a controlled substance as defined in 21 U.S.C. § 802,
did knowingly possess, in and affecting commerce, fireanns, that is: (1) a Stag Arms ARl 5
5.56rnm iifle; (2) a Ruger CQR Model X15 rifle; (3) a DPMS Panther Arms 308 Model LR-308
rifle; (4) a Bergara 308 rif]e; (5) a Remington Model 241 .22 caliber rifle; (6) a Ranger 101-16
.22 caliber rifle; (7) a Marlin Model 795 rif`le', (8) a Remington 870 shotgun; (9) another
Remington 870 shotgun; (10) a Glock handgun; (l 1) an H&K handgun; (12) a Sig Sauer Model

1911 handgun; (13) a Springfield .45 caliber handgun; (14) an R Guns revolver; (15) an RG 14

revolver', (16) an assembled firearm silencer; and (17) a disassembled firearm silencer.

is U.s.C. § 922(§)(3)

Case 8:19-cr-00096-G.]H Document 16 Filed 02/27/19 Page 4 of 5

COUNT FOUR
(Possession of Controlled Substance)

The Grand Jury for the District of` Maryland further charges that:
On or about February 15, 2019, in the District of` Maryland, the defendant,
CHRISTOPI'IER PAUL HASSON,

did knowingly and intentionally possess Tra:rnadol, a Schedule IV controlled substance

21 U.s.c. § s44(a)

Case 8:19-cr-00096-G.]H Document 16 Filed 02/27/19 Page 5 of 5

FORFEITURE ALLEGATION

The Grand Jury for the District of Maryland further finds that:

1. Pursuant to Rule 32.2, Fed. R. Crim. P., notice is hereby given to the defendant
that the United States will seek forfeiture as part of any sentence in accordance with 18 U.S.C,
§ 924(d), 26 U.S.C. § 5872(a), and 28 U.S.C. § 2461 (c), in the event ofthe defendant’s
conviction under Count One, Count Two, and Count Three of this Indictment.

2. As a result of the offenses set forth in Count One, Count Two, and Count Three,
the defendant,

CHRISTOPHER PAUL HASSON,

shall forfeit to the United States the firearms and firearm silencers identified in Count One,

Count Two, and Count Three and involved in those offenses

is U.s_C. § 924(<1)
26 U.s.C. § 5872(3)
23 U.s.C. § 2461(¢)

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Robert K. Hur
United States Attorney

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Foreperson

Date: February 27, 2019

